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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:08CR105
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
STEVEN A. JONES,                             )
                                             )
             Defendant.                      )

      This matter is before the Court on the government’s motion to dismiss (Filing No.

277). Pursuant to Federal Rule of Criminal Procedure 48(a), leave of court is granted for

the dismissal of the Indictment against the above-named Defendant.

      IT IS ORDERED that the government’s motion to dismiss (Filing No. 19) is granted,

and the above-captioned case is dismissed.

      DATED this 26th day of November, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
